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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 H.C.-F and C.F., individually and on behalf of
 their minor disabled child R.F.; D.W. and D.M.,
 individually and on behalf of their minor disabled
 child M.M.; C.D. and T.D., individually and on
 behalf of their minor disabled child E.D.; R.S. and                 ____ CV ________ ( )
 H.S., individually and on behalf of their minor
 disabled child, T.S.; S.C. and N.C., individually                      COMPLAINT
 and on behalf of their minor disabled child B.C.;
 R.J. and N.T., individually and on behalf of their
 minor disabled child N.T.; and E.Z., individually
 and on behalf of his minor disabled child S.Z.,

                                           Plaintiffs,

                      - against -


 CITY OF NEW YORK, NEW YORK CITY
 DEPARTMENT OF EDUCATION;
 RICHARD A. CARRANZA, in his representative
 role as Chancellor of the New York City
 Department of Education,

                                         Defendants.



       Plaintiffs H.C.-F and C.F., individually and on behalf of their minor disabled child R.F.;

D.W. and D.M., individually and on behalf of their minor disabled child M.M.; C.D. and T.D.,

individually and on behalf of their minor disabled child E.D.; R.S. and H.S., individually and on

behalf of their minor disabled child, T.S.; S.C. and N.C., individually and on behalf of their minor

disabled child B.C.; R.J. and N.T., individually and on behalf of their minor disabled child N.T.;

and E.Z., individually and on behalf of his minor disabled child S.Z., by their attorneys, Mayerson

& Associates, as and for their Complaint, allege and state the following:




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                                          THE PARTIES

   1.      Plaintiff R.F. is a five-year, eleven-month-old boy with the classification of “autism

spectrum disorder.” There is no dispute as to R.F.’s classification nor to his entitlement to and need

for special education services and a “free and appropriate public education” (“FAPE”).

   2.      Plaintiffs H.C-F. and C.F. are R.F.’s parents.

   3.      Plaintiff R.F. was, at all relevant times and still is, a student entitled to all rights,

entitlements, and procedural safeguards mandated by applicable law and statute, including but not

limited to the Individuals with Disabilities Education Improvement Act (hereinafter “IDEA”), 20

U.S.C. § 1400 et. seq., the pertinent implementing regulations promulgated under the Code of

Federal Regulations, Article 89 of the New York State Education Law, and Part 200 of the

Commissioner’s Regulations.

   4.        Plaintiff M.M. is an eleven-year, four-month-old boy with the classification of

“autism spectrum disorder.” There is no dispute as to M.M.’s classification nor to his entitlement

to and need for special education services and a FAPE.

   5.      Plaintiffs D.W. and D.M. are M.M.’s parents.

   6.      Plaintiff M.M. was, at all relevant times, and still is a student entitled to all rights,

entitlements, and procedural safeguards mandated by applicable law and statute, including but not

limited to the IDEA, 20 U.S.C. § 1400 et. seq., the pertinent implementing regulations promulgated

under the Code of Federal Regulations, Article 89 of the New York State Education Law, and Part

200 of the Commissioner’s Regulations.




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   7.      Plaintiff E.D. is a twelve-year, seven-month-old girl with the classification of “autism

spectrum disorder.” There is no dispute as to E.D.’s classification nor to her entitlement to and

need for special education services and a FAPE.

   8.      Plaintiffs C.D. and T.D. are E.D.’s parents.

   9.      Plaintiff E.D. was, at all relevant times, and still is a student entitled to all rights,

entitlements, and procedural safeguards mandated by applicable law and statute, including but not

limited to the IDEA, 20 U.S.C. § 1400 et. seq., the pertinent implementing regulations promulgated

under the Code of Federal Regulations, Article 89 of the New York State Education Law, and Part

200 of the Commissioner’s Regulations.

   10.     Plaintiff T.S. is a four-year, nine-month-old boy with the classification of “autism

spectrum disorder.” There is no dispute as to T.S.’s classification nor to his entitlement to and need

for special education services and a FAPE.

   11.     Plaintiffs R.S. and H.S. are T.S.’s parents.

   12.     Plaintiff T.S. was, at all relevant times and still is, a student entitled to all rights,

entitlements, and procedural safeguards mandated by applicable law and statute, including but not

limited to the IDEA, 20 U.S.C. § 1400 et. seq., the pertinent implementing regulations promulgated

under the Code of Federal Regulations, Article 89 of the New York State Education Law, and Part

200 of the Commissioner’s Regulations.

   13.       Plaintiff B.C. is a twelve-year, one-month-old boy with the classification of “autism

spectrum disorder.” There is no dispute as to B.C.’s classification nor to his entitlement to and

need for special education services and a FAPE.

   14.     Plaintiffs S.C. and N.C. are B.C.’s parents.




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   15.     Plaintiff B.C. was, at all relevant times, and still is a student entitled to all rights,

entitlements, and procedural safeguards mandated by applicable law and statute, including but not

limited to the IDEA, 20 U.S.C. § 1400 et. seq., the pertinent implementing regulations promulgated

under the Code of Federal Regulations, Article 89 of the New York State Education Law, and Part

200 of the Commissioner’s Regulations.

   16.     Plaintiff N.T. is a fifteen-year, seven-month old boy with the classification of “autism

spectrum disorder.” There is no dispute as to N.T.’s classification nor to his entitlement to and

need for special education services and a FAPE.

   17.     Plaintiffs R.J. and N.T. are N.T.’s parents.

   18.     Plaintiff N.T. was, at all relevant times and still is, a student entitled to all rights,

entitlements, and procedural safeguards mandated by applicable law and statute, including but not

limited to the IDEA, 20 U.S.C. § 1400 et. seq., the pertinent implementing regulations promulgated

under the Code of Federal Regulations, Article 89 of the New York State Education Law, and Part

200 of the Commissioner’s Regulations.

   19.      Plaintiff S.Z. is a thirteen-year, eleven-month-old boy with the classification of “other

health impairment.” There is no dispute as to S.Z.’s classification nor to his entitlement to and

need for special education services and a FAPE.

   20.     Plaintiff E.Z. is S.Z.’s parent.

   21.     Plaintiff S.Z. was, at all relevant times, and still is a student entitled to all rights,

entitlements, and procedural safeguards mandated by applicable law and statute, including but not

limited to the IDEA, 20 U.S.C. § 1400 et. seq., the pertinent implementing regulations promulgated

under the Code of Federal Regulations, Article 89 of the New York State Education Law, and Part

200 of the Commissioner’s Regulations.



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    22.    Plaintiffs are all residents of the State of New York, residing at all relevant times at

addresses located in New York County, within the Southern District of New York.

    23.    Although known to defendants, plaintiffs are not expressly named herein by their given

names because of the privacy guarantees provided in the IDEA statute, as well as in the Family

Educational Rights Privacy Act of 1974, 20 U.S.C. § 1232(g), and 34 C.F.R. § 99. 1

    24.    Defendant City of New York is the municipality responsible for the New York City

Department of Education pursuant to N.Y. Educ. Law Ch. 52-A.

    25.    Defendant, the New York City Department of Education (“DOE”), maintains an office

at 52 Chambers Street, New York, New York 10007, and at other locations within New York City.

    26.    Defendant, Richard A. Carranza, is the current Chancellor of the New York City

Department of Education, with his principal offices located at 52 Chambers Street, New York,

New York 10007, and is named herein solely in his representative capacity.

    27.    Defendant DOE is a “local educational agency” and school district organized under the

laws of the State of New York. Both procedurally and substantively, defendant DOE was (and

still is) statutorily obligated under the IDEA, as well as the laws of the State of New York, to

provide the minor plaintiffs with a FAPE and to observe, honor and enforce plaintiffs’ “pendency”

entitlements and other related mandates and safeguards.

                              NATURE OF THIS ACTION

    28. This action is brought to secure money damages, declaratory and injunctive relief, and

reasonable attorneys’ fees and costs arising out of defendants’ repeated and ongoing failure to




1
 Upon the request of the Court, and on an in camera basis, plaintiffs are prepared to disclose their
given names and addresses.
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 timely honor, implement and fund plaintiffs’ pendency entitlements as an automatic and

 unconditional injunction.



                                   JURISDICTION AND VENUE

    29. Pursuant to 20 U.S.C. § 1415(I)(2)(A), 28 U.S.C. §1331 and §1367, this Court has

 jurisdiction of this action without regard to the amount in controversy.

    30. Venue is proper in the Southern District of New York in that plaintiffs and defendants all

 reside, have offices, or are otherwise situated within this judicial district.

                                   STATUTORY FRAMEWORK

     31. The IDEA was established to provide rights and entitlements to eligible students with

autism and other qualifying disabilities. As a matter of law and statute, “pendency” is universally

recognized as an automatic and unconditional injunction that local educational agencies (here,

defendant New York City Department of Education) are required to timely honor and implement.

See T.M. v. Cornwall Cent. Sch. Dist., 752 F.3d 145, 170 (2d Cir. 2014).

     32. The pendency provisions of the IDEA and the New York State Education Law require that

“during the pendency of any proceedings [relating to the identification, evaluation or placement of a

child with a disability], unless the State or local educational agency and the parents otherwise agree, the

child shall remain in the then-current educational placement of such child . . .until all such proceedings

have been completed.” 20 U.S.C. § 1415(j); see 34 C.F.R. § 300.514(a); N.Y. Educ. Law § 4404(4); 8

NYCRR 200.5(l)(1).

     33. Pendency has the effect of an automatic injunction imposed to maintain the educational status

quo, without regard to such factors as irreparable harm, likelihood of success on the merits, or a

balancing of the hardships. See Zvi D. v. Ambach, 694 F.2d 904, 906 (2d Cir. 1982) ( “Implicit in the

maintenance of the status quo is the requirement that a school district continue to finance an educational

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placement made by the agency and consented to by the parent before the parent requested a due process

hearing. To cut off' public funds would amount to a unilateral change in placement, prohibited by the

Act.” (emphasis supplied); N.Y.C. Dep't of Educ. v. S.S., No. 09 Civ. 810, 2010 U.S. Dist. LEXIS 25133,

at *24 (S.D.N.Y. Mar. 17, 2010) (Department of Education’s responsibility for pendency tuition paid

during a due process challenge is “absolute”) (citing Bd. of Educ. v. Schutz, 290 F. 3d 476, 484 (2d Cir.

2002), cert. denied, 537 U.S. 1227 (2003)); Student X v. N.Y.C. Dep't of Educ., No. 07 CV 2316, 2008

U.S. Dist. LEXIS 88163, at *77 (E.D.N.Y. Oct. 30, 2008) (holding DOE’s failure to provide student

with pendency services constituted a “gross violation” of the IDEA). Accordingly, while plaintiffs aver

that they are facing the threat of irreparable harm as a result of defendant’s acts and omissions, plaintiffs

need not prove that element to have standing to seek injunctive relief from this Court.

     34. As per 20 U.S.C. § 1415(j), pendency entitlements are automatic and unconditional, and

attach and become operative merely upon the filing of a student’s Demand for Due Process, and

such entitlements are required to be implemented and performed by the DOE as a matter of law and

statute, without the necessity of any application, motion or other showing, until there is a final order.

     35. Despite the automatic and unconditional nature of pendency rights, defendant DOE, as a

matter of policy and practice, will not honor a disabled student’s pendency rights unless and until

an Impartial Hearing Officer (“IHO”) first conducts a hearing and issues an Order memorializing

the contents of the student’s pendency program. Defendant’s practice is at variance with how

pendency entitlements are normally honored and observed outside of New York City. Other than

the highly unusual practices of the defendant DOE, school districts normally honor pendency

entitlements as a matter of course.

     36. The additional procedural hurdles imposed by defendants unnecessarily delay and impede

the provision of plaintiffs’ pendency entitlements. As alleged below, even after plaintiffs’ pendency

entitlements were expressly adjudicated (as defendants insist), defendants still did not timely honor

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and fund such entitlements. Significantly, defendants’ failures arose well before the current

COVID-19 crisis.

                            FACTS AND PROCEDURAL HISTORY

Plaintiff R.F.

    37. On or about July 1, 2019, Plaintiffs H.C-F and C.F. filed a demand for due process on

behalf of themselves and their son, R.F. That demand invoked R.F.’s pendency rights as arising

from an unappealed and final decision of IHO Mindy Wolman dated March 25, 2019.

    38. On or about October 29, 2019, IHO Edgar de Leon endorsed an Interim Agreement on

Pendency, declaring and finding that R.F.’s pendency program arose from that March 25, 2019

IHO decision, and further ordering that R.F.’s rights to that pendency program attached and related

back to the July 1, 2019 filing date of the due process demand.

    39. On or about January 8, 2020, Plaintiffs H.C.-F. and C.F. submitted to Defendant DOE the

documentation required to be reimbursed for monies plaintiffs had spent on R.F.’s pendency

program from July 1, 2019 through December 31, 2019. These plaintiffs provided invoices and

proofs of payment showing they had paid $13,405 for R.F.’s special education services and

$548.68 for his transportation.

    40. As of the filing of this Complaint, despite due demand, defendant DOE has failed to

reimburse Plaintiffs H.C.-F. and C.F.

Plaintiff M.M.

     41.         On or about July 1, 2019, Plaintiffs D.W. and D.M. filed a demand for due process

on behalf of themselves and their son, M.M. That demand invoked M.M.’s pendency rights as

arising from Defendant’s Individualized Education Program (“IEP”) dated April 3, 2013.




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    42.          On or about February 5, 2020, IHO Diane Cohen issued an Interim Order on

Pendency, declaring that M.M.’s pendency program did arise from that IEP, and further ordering

that M.M.’s rights to program set forth in the IEP dated from the filing of the due process demand.

    43.          On or about January 16, 2020, Plaintiffs D.W. and D.M. submitted to Defendant

DOE the documentation required to be reimbursed for monies they had spent on M.M.s pendency

program from September 1, 2019 through November 30, 2019. They provided invoices and proofs

of payment showing they had paid $1,495 for M.M.’s special education services.

    44.          As of the filing of this Complaint, despite due demand, Defendant DOE has failed

to reimburse Plaintiffs D.W. and D.M.

Plaintiff E.D.

   45. On or about June 28, 2019, Plaintiffs C.D. and T.D. filed a demand for due process on

behalf of themselves and their daughter, E.D. That demand invoked E.D.’s pendency rights as

arising from the final and non-appealable Findings of Fact and Decision of IHO Craig Tessler,

dated April 4, 2012.

   46. On or about October 24, 2019, IHO Vanessa M. Gronbach issued an Interim Order on

Pendency, declaring that E.D.’s pendency rights did arise from the April 4, 2012 Findings of Fact

and Decision, and further ordering that E.D.’s rights to the program set forth in that decision dated

from the filing of the due process demand.

   47. On or about January 21, 2020, Plaintiffs C.D. and T.D. submitted to Defendant DOE the

documentation required to be reimbursed for monies they had spent on E.D.’s pendency program

from July 1, 2019 through September 30, 2019. These plaintiffs provided defendant DOE with

invoices and proofs of payment showing they had paid $14,845 for E.D.’s special education

services.



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   48. On or about January 23, 2020, Plaintiffs C.D. and T.D. made another submission to

defendant DOE, demonstrating said plaintiffs’ right to reimbursement for an additional $320.00

for counseling services that also are part of E.D.’s pendency entitlements.

   49. As of the filing of this Complaint, and despite due demand, Defendant DOE has failed to

reimburse Plaintiffs C.D. and T.D. for either submission.

Plaintiff T.S.

   50. On or about July 1, 2019, Plaintiffs R.S. and H.S. filed a demand for due process on behalf

of themselves and their son, T.S. That demand invoked T.S.’s pendency rights as arising from the

now final and non-appealable Decision of IHO Audrey Daniel, dated June 28, 2019.

   51. On or about July 30, 2019, IHO Audrey Daniel issued an Interim Order on Pendency,

declaring that T.S.’s pendency program did arise from that Decision, and further ordering that

T.S.’s rights to program set forth in the decision dated from the filing of the due process demand.

   52. On or about January 22, 2020, Plaintiffs R.S. and H.S. submitted to Defendant DOE the

documentation required to be reimbursed for monies they had spent on T.S.’s pendency program

in November 2019. They provided invoices and proofs of payment showing they had paid

$25,771.33 for T.S.’s special education services.

   53. As of the filing of this Complaint, despite due demand, Defendant DOE has failed to

reimburse Plaintiffs R.S. and H.S.

Plaintiff B.C.

   54. On or about July 1, 2019, Plaintiffs S.C. and N.C. filed a demand for due process on behalf

of themselves and their son, B.C. That demand invoked B.C.’s pendency rights as arising from a

final and non-appealable decision of the New York State Review Officer (“SRO”) dated March

24, 2015.



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   55. On or about August 5, 2019, IHO Mindy Wolman issued an Interim Order on Pendency,

declaring that B.C.’s pendency program and entitlements did arise from that SRO decision, and

further ordering that B.C.’s right to the program set forth in that decision dated and related back to

the filing of B.C.’s due process demand.

   56. On or about January 27, 2020, Plaintiffs S.C. and N.C. submitted to Defendant DOE the

documentation required to be reimbursed for monies they had spent on B.C.s pendency program

from September 1, 2019 through December 31, 2019. They provided invoices and proofs of

payment showing they had paid $14,230 for B.C.’s special education services.

   57. As of the filing of this Complaint, and despite due demand, Defendant DOE has failed to

reimburse Plaintiffs S.C. and N.C.

Plaintiff N.T.

   58. On or about June 28, 2019, Plaintiffs R.J. and N.T. filed a demand for due process on behalf

of themselves and their son, N.T. That demand invoked N.T.’s pendency rights as arising from the

now final and non-appealable Findings of Fact and Decision of IHO Dora Lassinger, dated July 1,

2011.

   59. On or about August 1, 2019, IHO Jeffrey Guerra issued an Interim Order on Pendency,

declaring that N.T.’s pendency program did arise from that Findings of Fact and Decision, and

further ordering that N.T.’s right to the program set forth in that decision dated from the filing of

the due process demand.

   60. On or about February 14, 2020, Plaintiffs R.J. and N.T. submitted to Defendant DOE the

documentation required to be reimbursed for monies they had spent on N.T.’s pendency program

from September 1, 2019 through December 31, 2019. They provided invoices and proofs of

payment showing they had paid $16,775.00 for N.T.’s special education services.



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   61. On or about February 18, 2020, Plaintiffs R.J. and N.T. made a second submission of the

required documentation to be reimbursed for $4,650.00 they had spent in July and August 2019

on N.T.’s special education pendency services.

   62. As of the filing of this Complaint, and upon due demand, Defendant DOE has failed to

reimburse Plaintiffs R.J. and N.T.

Plaintiff S.Z.

   63. On or about April 8, 2019, Plaintiff E.Z. filed a demand for due process on behalf of himself

and his son, S.Z. That demand invoked S.Z.’s pendency rights as arising from as arising from the

now final and non-appealable Findings of Fact and Decision of IHO Rona Feinberg, dated April

30, 2014.

   64. On or about February 13, 2020, Defendant DOE and Plaintiff E.Z. entered into an Interim

Agreement on Pendency, agreeing that S.Z.’s pendency program arose from the final and non-

appealable Findings of Fact and Decision of IHO Rona Feinberg, dated April 30, 2014, and further

agreeing that S.Z.’s rights to program set forth in that decision dated from the filing of the due

process demand.

   65. On or about February 18, 2020, Plaintiff E.Z. submitted to Defendant DOE the

documentation required to be reimbursed for monies spent on S.Z.’s pendency program. Plaintiff

E.Z. provided invoices and proofs of payment showing he had paid $15,155.00 for S.Z.’s special

education services.

   66. As of the filing of this Complaint, despite due demand, Defendant DOE has failed to

reimburse Plaintiff E.Z.




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    67. The repeated failure of defendant DOE and the defendant City to timely reimburse

Plaintiffs for “pendency” related monies spent on special education schools, programs, and

services poses a serious threat to plaintiffs’ learning and progress, and also subjects plaintiffs to

the risk of regression. The timely receipt of these pendency reimbursements are thus necessary for

plaintiffs to be educated in a timely manner, and to help forestall anticipated regression.

                                  FIRST CLAIM FOR RELIEF

    68. Plaintiffs repeat and reallege each and every allegation set forth in paragraphs 1-67 as if

fully set forth herein.

     69. Defendants have violated and are in continuing violation of Plaintiffs’ automatic and

unconditional “pendency” entitlements and are liable to plaintiffs in money damages equal to the

value of plaintiffs’ respective “pendency” submissions to defendants, plus interest accrued and

accruing.

                                SECOND CLAIM FOR RELIEF

     70. Plaintiffs repeat and reallege each and every allegation set forth in paragraphs 1-67 as if

fully set forth herein.

    71. As a matter of law, inasmuch as pendency is regarded as an automatic injunction that

does not require the showing of imminent irreparable harm, plaintiffs should be entitled to

preliminary and permanent injunctive relief from this Court for which any further violation

would support a finding of contempt.

                                 THIRD CLAIM FOR RELIEF

    72. Plaintiffs repeat and allege each and every allegation set forth in paragraphs 1-67 as if

fully set forth herein.

    73. The IDEA statute contains a fee shifting provision at 20 U.S.C. Sec. 1415.



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   74. Accordingly, as part of any relief ordered by the court, should plaintiffs emerge as the

substantially prevailing parties, the court should award plaintiffs their reasonable attorneys’ fees

and taxable costs.



       WHEREFORE, it is respectfully submitted that this Court should:

       (a)       declare that Plaintiffs’ right to reimbursement for the cost of their pendency

programs is automatic and does not require any hearing or Order;

       (b)       declare that Defendants are in violation of plaintiffs’ pendency entitlements;

       (c)       enjoin Defendants to immediately reimburse Plaintiffs for the pendency related

monies that they are owed, based on plaintiffs’ submissions to defendants;

       (d)       acknowledge plaintiffs’ status as “prevailing parties” and grant plaintiffs leave to

file a fee application pursuant to the fee-shifting provisions of the Act, for the fees and costs of

this action; and

       (e)       grant plaintiffs such other, further and different relief as may be just under the

circumstances.

Dated: March 23, 2020
       New York, New York                              __________/s____________________
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